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                                  AC-0005
                              
                        
          
        
      
    
  

  

  
    
      AC-0005
              Angela Colmenero
                  
        Categories
                        
Criminal Law
              , 
Governor
        
      
            
                  Summary
                      Pursuant to section 418.012 of the Government Code, executive orders issued by the Governor pursuant to his emergency powers under chapter 418 have the force and effect of law. The Penal Code defines “law” to include a rule authorized by and lawfully adopted under a statute. A court is therefore likely to conclude that executive orders authorized by and lawfully adopted pursuant to the Governor’s statutory emergency powers constitute “laws” for purposes of subsection 1.07(a)(30) of the Penal Code.
      
                          
            Opinion File
                         ac-0005.pdf 

      
          
                
        
      
    

          
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    RQ-0432-KP

      
  
                September 10, 2021

      
  
      
      
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